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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

IN RE:
                                                       Case No. 20-12377-EEB
SKLAR EXPLORATION COMPANY, LLC,
EIN: XX-XXXXXXX                                        Chapter 11

         Debtor.



SKLARCO, LLC,                                          Case No. 20-12380-EEB
EIN: XX-XXXXXXX
                                                       Chapter 11

         Debtor.



THOMAS M. KIM, AS CREDITOR TRUSTEE                     Adversary No. __________-EEB
OF THE SKLARCO CREDITOR TRUST,

         Plaintiff,

v.

HOWARD F. SKLAR, INDIVIDUALLY;
MIRIAM SKLAR, L.C.; HOWARD F. SKLAR
AS INDEPNDENT EXECUTOR OF THE
SUCCESSION OF MIRIAM MANDEL SKLAR;
AND HOWARD F. SKLAR AS TRUSTEE OF
THE HOWARD TRUST, THE ALAN
GRANTOR TRUST, AND THE JACOB
GRANTOR TRUST

         Defendants.


                                   ORIGINAL COMPLAINT


         Thomas M. Kim, solely in his capacity as Creditor Trustee (the “Trustee”) of the Sklarco

Creditor Trust, (the “Trust”), files this Original Complaint against Howard F. Sklar, Individually

(“Howard”), Miriam Sklar, L.C. (”Miriam”), Howard F. Sklar, Independent Executor of the

Succession of Miriam Mandel Sklar (“SMMS”), and Howard F. Sklar, in his capacity as Trustee

for each of the Howard Trust (the “Howard Trust”), the Alan Grantor Trust (the “Alan Trust”),
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and the Jacob Grantor Trust (the “Jacob Trust” and collectively with Miriam, SMMS, the Howard

Trust, and the Alan Trust, the “Family Trusts”, and collectively with Howard, “Defendants”) and,

in support thereof, alleges as follows:

                                      Preliminary Statement

       1.      From all outward appearances right up until commencement of these bankruptcy

cases, Howard Sklar was an extremely successful businessman and CEO of two profitable

companies, Sklarco and SEC. He flew friends and family on his private jet to Napa, Las Vegas,

up and down the California coast, and elsewhere. He owned prized show dogs that he paid to

travel throughout the country in a private motorcoach. He was an investor and driver in a

professional race car team, and he owned a $1.4 million condominium in Boulder, Colorado. As

the sole owner and CEO of Sklarco and SEC, Howard answered to nobody but himself, and he

used that control to shower himself with cash, sometimes as much as $2 million per year, all

withdrawn from company accounts.

       2.      A closer look at Sklarco’s and SEC’s finances, however, tells a much different

story. Rather than being hugely profitable and wildly successful oil and gas companies, Sklarco

and SEC were operating on razor-thin margins due to Howard’s mismanagement and malfeasance.

As an oil and gas operator, SEC’s business was dependent on working interest owners reimbursing

SEC for the expenses it incurred to operate the wells. Howard and his management team were

diligent at pursuing third-party working interest owners for payment of their expense

reimbursements, but when it came to the expense reimbursements that Howard and his family

owed, he simply let them slide.

       3.      Defendants’ failure to remain current on their expense reimbursement obligations

blew a $36 million hole in Sklarco’s and SEC’s finances, yet Howard continued to use his power




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over both companies to direct millions of dollars of transfers to himself and his family. That cash

had to come from somewhere, so in the period leading up to the Petition Date, Howard oversaw

the decision to convert millions in funds held by SEC that were earmarked for specific well

projects, and millions more in well revenues that were owed to third party working interest owners,

and use them instead to fund general operating expenses. With those funds, Howard paid himself

and his sons over $2.7 million in 2019 alone, while using company funds to pay for luxury private

jet flights and to purchase exclusive golf club memberships. Howard did this, all the while

knowing that SEC was slow-paying vendors who were critical for SEC’s ability to continue

operating.

       4.      When the end finally came, the damage done by Howard’s malfeasance and

mismanagement was clear: the Family Trusts that Howard controlled owed over $36 million to

Sklarco, and SEC’s creditors were owed over $57 million. All the while Howard and the Family

Trusts walked away with over $10.3 million in the four years leading up to the Petition Date.

Through this adversary proceeding, the Trust seeks to recover the amounts that Defendants

wrongfully took from Sklarco and SEC, in order to provide some compensation for the losses

SEC’s and Sklarco’s creditors suffered.

                                             Parties

       5.      Plaintiff Thomas M. Kim, as Trustee of the Sklarco Creditor Trust, was appointed

pursuant to that certain Creditor Trust Agreement, which was approved by the Bankruptcy Court

pursuant to its August 24, 2021, Order Confirming Second Amended and Restated Plan of

Reorganization dated December 18, 2020, as amended. (the “Confirmed Plan”) Pursuant to the

Confirmed Plan, the Sklarco Creditor Trust was vested with the sole right to pursue all Causes of




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Action (as such term is defined in the Confirmed Plan) on behalf of the creditors of Sklarco and

SEC.

       6.      Defendant Howard F. Sklar, individually, (“Howard”) is an individual who is

currently residing in Boulder, Colorado. Howard F. Sklar, individually, may be served with

process through his attorney of record, Adam L. Hirsch, Davis Graham & Stubbs, 1550 17th Street,

Suite 500, Denver, CO 80202.

       7.      Defendant Miriam Sklar L.C. (“Miriam”) is a Louisiana limited liability company,

whose manager is Howard F. Sklar. Miriam Sklar L.C. may be served through its registered agent,

Malcolm S. Murchison, 401 Edwards Street, Suite 1000, Shreveport, Louisiana, 71101.

       8.      Defendant Succession of Miriam Mandel Sklar (“SMMS”) is a Louisiana probate

estate created pursuant to that certain order dated April 21, 2010, of the First Judicial District

Court, Caddo Parish, Louisiana, Suit No. 540336-B.          SMMS may be served through its

independent executor, Howard F. Sklar, through his attorney of record, Adam L. Hirsch, Davis

Graham & Stubbs, 1550 17th Street, Suite 500, Denver, CO 80202.

       9.      Defendant Howard Trust is an irrevocable inter vivos trust created under the laws

of the State of Louisiana (“Howard Trust”). Howard Trust may be served through its trustee,

Howard F. Sklar, through his attorney of record, Adam L. Hirsch, Davis Graham & Stubbs, 1550

17th Street, Suite 500, Denver, CO 80202.

       10.     Defendant Alan Grantor Trust is an irrevocable inter vivos trust created under the

laws of the State of Louisiana (“Alan Trust”). Alan Trust may be served through its trustee,

Howard F. Sklar, through his attorney of record, Adam L. Hirsch, Davis Graham & Stubbs, 1550

17th Street, Suite 500, Denver, CO 80202.




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       11.     Defendant Jacob Grantor Trust is an irrevocable inter vivos trust created under the

laws of the State of Louisiana. (“Jacob Trust”). Jacob Trust may be served through its trustee,

Howard F. Sklar, through his attorney of record, Adam L. Hirsch, Davis Graham & Stubbs, 1550

17th Street, Suite 500, Denver, CO 80202.

       12.     Defendants Howard Trust, Miriam, SMMS, Jacob Trust, and Alan Trust are

collectively referred to herein as the “Family Trusts”.

                                     Jurisdiction and Venue

       13.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and Rules

7001(7) and 7065 of the Federal Rules of Bankruptcy Procedure (“FRBP”). This is a core

proceeding pursuant to 28 U.S.C. § 157(b). Pursuant to FRBP 7008, the Trustee consents to the

entry of final orders or judgment by this Court in connection with this adversary proceeding in the

event it is determined that, absent consent of the parties, the Court cannot enter final orders or

judgments consistent with Article III of the United States Constitution.

       14.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                        Background Facts

Howard’s Numerous and Often Conflicting
Obligations and Fiduciary Duties

       15.     Howard founded SEC in 1998, and he was the sole owner (through the Howard

Trust) and CEO/Manager of SEC at all relevant times up until commencement of SEC’s chapter

11 case. As the CEO and Manager of SEC, Howard owed various obligations and fiduciary duties

to SEC, including the duties of care, loyalty, and good faith.

       16.     SEC was created to be an oil and gas operating company. SEC owned no oil and

gas interests itself; rather, SEC was hired by the owners of oil and gas interests – the working

interest owners – to develop and market those interests. As the operator, SEC’s business model


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was to charge the working interest owners their proportionate share of the costs to drill, complete,

operate, and maintain the wells, and to distribute revenue generated by the wells back out to those

working interest owners. In exchange for providing that service to the working interest owners,

SEC charged the working interest owners various fees which were designed to cover SEC’s

overhead costs.

       17.     In that respect, SEC’s business model was simple – for every expense it incurred in

operating the working interest owners’ wells, there was to be a reimbursing payment from those

working interest owners. As such, SEC’s success was completely reliant on those working interest

owners to reimburse their fair share of the expenses of developing, operating, and maintain their

wells. Without those regular expense reimbursements, SEC’s finances would quickly go into the

red.

       18.     Howard founded Sklarco in 1998, and he was also the sole owner (through the

Howard Trust) and CEO/Manager of Sklarco at all relevant times up until commencement of

Sklarco’s chapter 11 case. As the CEO and Manager of Sklarco, Howard owed various obligations

and fiduciary duties, including duties of care, loyalty, and good faith.

       19.     Sklarco was created, in part, to own various oil and gas working interests on behalf

of members of the Sklar family (collectively, the “Sklar Family Working Interests”). Sklarco had

no employees or business of its own – its sole purpose was to own and manage the Sklar Family

Working Interests and other Sklar family investment interests. Sklarco contracted with SEC to

operate the Sklar Family Working Interests, and as such Sklarco was responsible for making

regular expense reimbursement payments to SEC, just as the numerous other non-Sklar working

interest owners that contracted with SEC were required to do.




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        20.     Howard also acted as the sole trustee for the various trusts and estates that he

established for himself and his family. Specifically, Howard appointed himself trustee of the

Howard Trust, and as such he owed various obligations and duties to the beneficiary of the Howard

Trust – namely, himself.

        21.     Howard also appointed himself as the sole trustee of the Jacob Trust. In his capacity

as trustee of the Jacob Trust, Howard owed various obligations and duties to the beneficiary of

that trust, his son Jacob.

        22.     Howard also appointed himself as the sole trustee of the Alan Trust. In his capacity

as trustee of the Alan Trust, Howard owed various obligations and duties to the beneficiary of that

trust, his son Alan.

        23.     Howard also served as manager of Miriam Sklar L.C. In his capacity as manager

of Miriam Sklar L.C., Howard owed various obligations and duties to Miriam.

        24.     Howard also served as Independent Executor of the Succession of Miriam Mandel

Sklar, which is the successor to the probate estate of Howard’s mother, Miriam Mandel Sklar. In

his capacity as independent executor of the Succession of Miriam Mandel Sklar, Howard owed

various obligations and duties to SMMS.

        25.     The various managerial and trustee roles Howard fulfilled for SEC, Sklarco, and

the Family Trusts led to inherent conflicts of interest. For example, when the Family Trusts failed

for years to make their required expense reimbursement payments to Sklarco, instead of pursuing

collection efforts, Howard chose instead to forgo collection, thereby significantly benefitting

himself and his family’s finances while substantially impairing both SEC’s and Sklarco’s financial

health. As discussed below, it was Howard’s decision to put his and his family’s interests above




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those of Sklarco and SEC that ultimately doomed those companies to bankruptcy, leaving SEC’s

substantial trade vendors and working interest owners holding the bag.

The Agency Services Agreement

       26.     The Family Trusts each contracted with Sklarco to own and manage the Sklar

Family Working Interests. In turn, Sklarco contracted with SEC to operate those working interests.

The agreement between the Family Trusts, Sklarco, and SEC was called the Agency Services

Agreement (the “ASA”). The ASA was executed on July 2, 2010, and thereafter amended on

August 31, 2015.1 True and correct copies of the ASA and the First Amendment to the ASA are

attached hereto as Exhibits A and B, respectively.

       27.     Prior to July 2, 2010, the Sklar Family Working Interests were operated by Sklarco

and SEC pursuant to an earlier agreement, referred to as the “Prior Agency Services Agreement”.

The Prior Agency Services Agreement was executed on December 14, 2007.

       28.     Pursuant to the ASA, the Family Trusts granted Sklarco authority to own and

manage all aspects of the Sklar Family Working Interests. See ASA, § 1.1, et seq. As part of that

grant of authority, the Family Trusts authorized Sklarco to incur expenses for operation and

development of the Sklar Family Working Interests (collectively, the “Sklar Family JIB

Expenses”), and Sklarco agreed to pay those Sklar Family JIB Expenses to SEC on behalf of the

Family Trusts. See ASA, § 2.1.

       29.     As compensation for owning and managing the Sklar Family Working Interests,

the ASA required the Family Trusts to pay certain fees to Sklarco on a monthly basis (collectively,

the “Agency Services Fees”). See ASA, § 2.1, et. seq.




1
       The ASA was amended a second time in connection with these chapter 11 proceedings, but that amendment
       specifically carved out and preserved the claims that are brought in this adversary proceeding.


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       30.     Sklarco was required to bill each of the Family Trusts on or before the 20th of each

month for each Family Trust’s share of the Sklar Family JIB Expenses and the Agency Services

Fees, and each Family Trust was required to pay such charges to Sklarco within 15 days of

receiving that bill. See ASA, § 2.1. To keep track of those bills and payments, Sklarco established

what it referred to as the O&G Intercompany Account (the “Intercompany Account”).

       31.     The procedures set forth in the ASA and the prior Agency Services Agreement for

billing the Sklar Family JIB Expenses and Agency Services Fees on a monthly basis to the Family

Trusts were intended, in part, to ensure that Sklarco always had sufficient funds on hand to

compensate SEC for the costs of operating and managing the Sklar Family Working Interests.

However, that was not always how the Intercompany Account operated, both before and after the

ASA was executed.

       32.     When the ASA was executed on July 2, 2010, the Family Trusts (and their

predecessors) had already run up over $18 million in unpaid Sklar Family JIB Expenses and

Agency Services Fees owed to Sklarco under the Prior Agency Services Agreement. Specifically,

as of July 2, 2010, the Intercompany Account reflected that the Family Trusts owed Sklarco the

following amounts:

                        Howard Trust                       $10,249,544.04
                        SMMS/Miriam Sklar L.C.               $7,100,540.98
                        Alan Trust                             $326,693.11
                        Sam Trust (predecessor to Jacob Trust) $488,259.39

                                       TOTAL DEBT                 $18,165,037.522

The ASA required the Family Trusts to make monthly payments to pay down the $18.1 million

existing Intercompany Account debt, and those payments were to be in addition to the current




2
       The $18.1 million in unpaid Sklar Family JIB Expenses as of July 2, 2010, is net of any revenues from the
       Sklar Family Working Interests that were left in SEC.


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 charges that would be billed to the Intercompany Account for Sklar Family JIB Expenses and

 Agency Services Fees owed by the Family Trusts. See ASA, § 2.4.

        33.      All amounts owed by the Family Trusts to Sklarco as reflected in the Intercompany

 Account that remain outstanding and unpaid beyond the deadlines set forth in the ASA bear interest

 until the obligation is paid. See ASA, § 2.6. The interest rate is set at the then-applicable prime

 rate plus 1%. See id.

        34.      Under Howard’s management and control, the Family Trusts never meaningfully

 attempted to pay down the Intercompany Account. Rather, after the ASA was executed on July 2,

 2010, Howard and the Family Trusts that he controlled simply continued to rack up unpaid Sklar

 Family JIB Expenses and Agency Services Fees, all the while withdrawing substantial sums from

 Sklarco and SEC which Howard characterized as “salary” and “distributions”. As a result, the

 Intercompany Account reflected that the Family Trusts owed more than $36 million to Sklarco,

 and that Sklarco owed SEC over $35 million,3 as of the April 1, 2020, bankruptcy filing (the

 “Petition Date”).4

 Howard Used Sklarco and SEC to Fund His
 Lavish Lifestyle

        35.      When the ASA was executed in 2010, the price for West Texas Intermediate Crude

 was hovering in the range of $80 per barrel, and for the next four years the price remained above

 $90 per barrel. At that price, SEC and Sklarco were generating substantial revenues from the sale

 of oil and gas production, and Howard was living large. In 2012 and 2013, Howard caused SEC



 3
        Again, the $36 million that was owed by the Family Trusts to Sklarco on the Petition Date, and the $35
        million that was owed by Sklarco to SEC on the Petition Date, are both net of any Sklar Family Working
        Interest revenues that were left in the companies.
 4
        Inexplicably, the Schedules of Assets and Liabilities that Howard authorized Sklarco and SEC to file shortly
        after the Petition Date say nothing about the debts the Family Trusts owes to Sklarco, or the debts that Sklarco
        owes to SEC.


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 to lease a $9 million private jet for both business and his personal use. That same year, Howard

 rang up over $50,000 in expenses for his show dogs, he invested and raced in a race car team, and

 he purchased a $1.45 million luxury condominium in Boulder, Colorado.

        36.     That lifestyle was threatened in 2015, when the price of West Texas Intermediate

 Crude fell to approximately $50 per barrel. In 2016, it dropped even further to less than $40 per

 barrel. In response, Howard directed SEC to sell the corporate jet, and he suspended his “salary”.

 Nevertheless, Howard continued to withdraw cash from Sklarco for himself and the Family Trusts,

 aided by significant cash transfers from SEC to Sklarco. In the 21 months from April 1, 2016, to

 December 31, 2017, Howard and the Family Trusts withdrew over $5 million from Sklarco and

 SEC – an average of $238,000 per month. During this same timeframe, the amount of the unpaid

 Sklar Family JIB Expenses and Agency Services Fees owed to Sklarco as reflected on the

 Intercompany Account exceeded $20 million, and the debt Sklarco owed to SEC on behalf of the

 Family Trusts increased to over $22 million.

        37.     In 2018 the price of oil slightly recovered to approximately $65 per barrel and

 Howard was feeling flush with cash again.5 That year, Howard reinstated his salary, this time

 paying himself $500,000 per year, plus distributions to the Howard Trust totaling over $1.5

 million. Nevertheless, Howard continued to neglect the mounting debts the Family Trusts owed

 to Sklarco, and that Sklarco owed to SEC. By the end of 2018, the unpaid Sklar Family JIB

 Expenses and Agency Services Fees owed to Sklarco as reflected on the Intercompany Account,

 and the debts Sklarco owed to SEC, exceeded $30 million.




 5
        Sklarco and SEC also closed on a $50 million credit facility with East West Bank on June 15, 2018. Within
        6 months of taking out that loan, Howard paid himself $635,500, and distributed an additional $557,435 to
        the Family Trusts.


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        38.      In 2019 the price of oil dropped to approximately $55 per barrel, and it never

 recovered above that price before the Petition Date. That drop significantly impacted SEC’s

 operations, and without the much-needed expense reimbursements and Agency Services Fees due

 from the Family Trusts, SEC found itself struggling to find sufficient cash flow to pay its bills.

 For example, on April 1, 2019, Rapad Drilling Company billed SEC almost $560,000 for work

 that it performed on SEC-operated wells. Payment was due on that invoice in May 2019, but

 instead of paying the invoice, SEC management discussed “how far out can we push Rapad?”

        39.      SEC would have had sufficient funds to timely pay Rapad and other critical vendors

 were it not for Howard’s repeated decision to put his own personal interests ahead of the

 companies’. For example, while SEC was struggling to pay Rapad and other critical vendors in

 2019, Howard was using SEC and Sklarco to pay himself $130,000 in salary per month, or $1.56

 million per year. When SEC’s bank lender found out about the exorbitant “salary” that Howard

 had awarded himself, Howard agreed to “reduce” his salary to $500,000, while at the same time

 directing SEC’s accountants to recharacterize the remainder of his $1.56 million “salary” as

 distributions to equity.

        40.      According to Howard, when he wanted to take cash out of Sklarco or SEC, he

 would speak to the CFO6 to make the withdrawal request. Howard was the top manager at both

 Sklarco and SEC, and he owned 100% of both companies. It is thus understandable that, as far as

 Howard can recall, his CFO never said “no” when Howard asked for money. Sklarco’s financial

 records support Howard’s recollection that whenever he asked for cash, he got it: in the four years

 leading up to the Petition Date, Howard withdrew over $8.6 million in cash from Sklarco and SEC

 solely for himself – an average of $180,000 per month (collectively, the “Howard Four-Year



 6
        It appears that SEC had at least three different CFOs in the years leading up to the Petition Date.


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 Distributions”). Each of the Howard Four-Year Distributions is set forth on Exhibit C, attached

 hereto.

           41.     Howard also used his CEO position at Sklarco and SEC to enrich the Family Trusts.

 In the four years before the Petition Date, Howard transferred over $1.7 million in cash collectively

 to the Alan Trust (collectively the “Alan Four-Year Distributions”), the Jacob Trust (collectively,

 the “Jacob Four-Year Distributions”), and SMMS (collectively, the “SMMS Four-Year

 Distributions”). Details of the Alan Four-Year Distributions, the Jacob Four-Year Distributions,

 and the SMMS Four-Year Distributions are set forth on attached Exhibits D, E, and F,

 respectively.

           42.     Howard didn’t just use his CEO titles and ownership to shower himself and his

 family with cash while SEC was struggling to pay its bills; he also used the companies to directly

 fund his own personal expenses and those of his senior managers at SEC. For example, in March

 of 2019, SEC paid more than $28,000 to the Omni Interlocken Golf Club for golf club

 memberships for SEC management.7 That same year, under Howard’s CEO leadership which he

 characterized as “everyday decision-making at the company,” SEC booked more than $400,000 in

 private charter jet flights for senior SEC management, including personal trips for Howard to

 Napa, Las Vegas, Portland, and San Diego.

           43.     Also under Howard’s “day-to-day” management in 2019, he allowed the Family

 Trusts to rack up an additional $4.8 million in unpaid Sklar Family JIB Expenses and Agency

 Services Fees, bringing the total they owed to Sklarco according to the Intercompany Account to




 7
           Incredibly, Howard allowed SEC’s senior management to use over $28,000 in SEC funds to renew those golf
           club memberships on February 24, 2020, 5 weeks before the Petition Date. While they were spending scarce
           company funds on golf club memberships, Howard and SEC management were slow-paying trade vendors
           and engaged in workout negotiations with SEC’s primary secured lender, East West Bank.


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 approximately $35 million as of December 31, 2019. As of that same date, Sklarco’s unpaid debts

 to SEC totaled approximately $34 million.

        44.     The strain on SEC’s cash flow caused by decreased revenues due to falling oil

 prices, Howard’s failure to pursue repayment of the unpaid Sklar Family JIB Expenses and Agency

 Services Fees, plus Howard’s push to take more and more cash out of the companies to fund his

 personal expenses, worked a significant hardship on SEC in 2019. So much so that, under

 Howard’s management and control, SEC began converting working interest owner cash call funds

 that were earmarked for specific capital improvement projects, and directed them instead towards

 SEC’s general operations. According to the debtor’s chapter 11 counsel, as of the Petition Date

 approximately $7 million in funds that were earmarked for specific projects had been diverted to

 SEC’s general operating account (the “Cash Call Funds”).8 Howard and his management team at

 SEC also withheld approximately $4.4 million in revenues that were owed to third-party working

 interest owners in the months immediately before the Petition Date, diverting those revenues into

 SEC’s general operating account (the “Unpaid Working Interest Revenues”).

        45.     As CEO and Manager of Sklarco and SEC, Howard owed fiduciary duties to both

 Sklarco and SEC, including the duty to put the interests of Sklarco and SEC above his own personal

 interests. Those fiduciary duties also required Howard to establish financial controls at SEC to

 ensure that the Cash Call Funds were used solely for the capital projects for which they were paid

 by the working interest owners, that the Unpaid Working Interest Revenues were segregated and

 paid to their rightful owners, and to ensure that those funds were used for their intended corporate

 purposes. Howard breached those fiduciary duties and exposed SEC to unnecessary liability by




 8
        When asked in his Rule 2004 examination to explain how the Cash Call Funds were used, Howard blithely
        answered that “cash is fungible”.


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 redirecting the Cash Call Funds and the Unpaid Working Interest Revenues to general operating

 accounts so he could continue transferring huge amounts of cash to himself and the Family Trusts.

           46.      The fiduciary duties Howard owed to Sklarco also required him to instruct Sklarco

 to pursue payment from each of the Family Trusts for all the unpaid Sklar Family JIB Expenses

 and Agency Services Fees that were owed to Sklarco and SEC as reflected in the Intercompany

 Account. Rather than doing so, however, Howard continued to allow the unpaid Sklar Family JIB

 Expenses and Agency Services Fees to accrue in the Intercompany Account right up until the

 Petition Date. Specifically, the last activity in the Intercompany Account before the Petition Date

 occurred on March 31, 2020, when the Family Trusts were billed approximately $300 in additional

 Sklar Family JIB Expenses. As a result, as of the Petition Date, the Intercompany Account reflects

 that, net of any revenues on the Sklar Family Working Interests that were left in SEC, each of the

 Family Trusts owed the following unpaid amounts to Sklarco (collectively, the “Sklar Family

 Debt”):

                             Howard Trust                                               $21,194,261
                             SMMS/Miriam Sklar L.C.                                      $7,545,247
                             Alan Trust                                                    $118,774
                             Sam Trust (predecessor to Jacob Trust)                       $397,304
                             Unallocated due to missing financial data9                  $7,215,398

                                               TOTAL DEBT                             $36,470,98410

           47.      In breach of the fiduciary duties he owed to Sklarco, Howard never pursued the

 Family Trusts to pay the Sklar Family Debt. Moreover, Howard breached the fiduciary duties he


 9
           Despite repeated requests, the Trust’s financial advisors have not received detailed general ledgers for either
           company for the period May 2010 to March 2016. So while the financial records that are available indicate
           that $7,215,398 in unpaid Sklar Family JIB Expenses and Agency Services Fees were incurred during that
           time, the Trust is not able to allocate those unpaid expenses to the various Family Trusts. The Trustee will
           request those general ledgers during discovery in this matter and will supplement this chart once he is able
           to complete the allocation.
 10
           As stated previously, Howard failed to disclose this substantial receivable due from the Family Trusts when
           he signed off on Sklarco’s schedules of assets and liabilities that were filed in this chapter 11 case.


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 owed to SEC by failing to ensure that the Cash Call Funds and the Unpaid Working Interest

 Revenues were only used for their intended purposes. Instead, Howard put his own interests and

 the interests of his family above Sklarco’s and SEC’s interests, and allowed the Sklar Family Debt

 to balloon to extraordinary amounts, all the while allowing SEC to deposit the Cash Call Funds

 and the Unpaid Working Interest Revenues into SEC’s general operating accounts in order to make

 extravagant cash distributions to himself and the Family Trusts.

        48.     According to the SEC’s schedules and the proofs of claim that were filed in that

 case, SEC owed over $18.6 million to trade vendors and working interest owners as of the Petition

 Date. That staggering amount of debt begs the question – how did a company whose entire

 business model assumed that for every operating expense that was incurred, there would be a

 corresponding payment from a working interest owner for their fair share of that expense, end up

 with that much unsecured debt on its books? As discussed above, the answer is clear – under

 Howard’s management and ownership, SEC and Sklarco were forced to make cash payments and

 distributions to Howard and the Family Trusts in amounts that were unsustainable, all the while

 neglecting to pursue collection on the Sklar Family Debt.

        49.     Had Howard honored his fiduciary duties to Sklarco and SEC, the approximately

 $36 million in Sklar Family Debt that existed in the Intercompany Account as reflected on

 Sklarco’s books as of the Petition Date, and the resulting approximately $36 million in unpaid

 Sklarco receivables that existed on SEC’s books as of the Petition Date would not exist; the Cash

 Call Funds would have been spent on their intended projects; the Unpaid Working Interest

 Revenues would have been paid to their rightful owners; SEC would have had more than sufficient

 cash on hand to fund all of its operational expenses; and this bankruptcy proceeding never would

 have happened. It was solely through Howard’s malfeasance and greed that SEC and Sklarco were




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 forced into bankruptcy, with unsecured trade vendors and working interest owners left to pay the

 price.

                                          Causes of Action

                                      Cause of Action No. 1
                                    Breach of Fiduciary Duty
                             (Against Howard F. Sklar, Individually)

          50.   The Trust repeats and realleges the allegations set forth in the above paragraphs.

          51.   As the CEO and Manager of both Sklarco and SEC, Howard owed various

 obligations and fiduciary duties to both companies, including the duty of loyalty.

          52.   As discussed above, Howard repeatedly breached his duty of loyalty to Sklarco and

 SEC, in violation of LSA-R.S. 12:1 -832(A)(1), by failing to pursue collection on the Sklar Family

 Debt, at a time when Howard knew or, through the exercise of reasonable diligence should have

 known, that failure to collect the amounts owed to Sklarco by the Family Trusts was working

 significant financial hardships on Sklarco and SEC.

          53.   Howard’s decision to not pursue collection on the Sklar Family Debt from the

 Family Trusts was not taken in good faith, in violation of LSA-R.S. 12:1-831(A)(2)(a).

          54.   Howard’s decision to not pursue collection on the Sklar Family Debt from the

 Family Trusts was either a decision that Howard did not reasonably believe to be in the best

 interests of Sklarco, or was a decision as to which Howard was not informed to an extent that was

 appropriate under the circumstances, in violation of LSA-R.S. 12:1-831(A)(2)(b).

          55.   Howard’s decision to not pursue collection on the Sklar Family Debt from the

 Family Trusts was the result of a lack of objectivity due to Howard’s familial, financial, or business

 relationship with the Family Trusts, which could reasonably be expected to have affected his

 judgment in a manner adverse to Sklarco, in violation of LSA-R.S. 12:1-831(A)(2)(c).




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        56.     Howard’s failure to pursue collection on the Sklar Family Debt from the Family

 Trusts was the result of a sustained failure by Howard to devote attention to ongoing oversight of

 the business and affairs of both Sklarco and SEC, or a failure to devote timely attention by making,

 or causing to be made, appropriate inquiry into the business and affairs of Sklarco and SEC, in

 violation of LSA-R.S. 12:1-831(A)(2)(d).

        57.     Howard’s decision to not pursue collection on the Sklar Family Debt from the

 Family Trusts conferred a financial benefit on Howard to which he was not entitled, in violation

 of LSA-R.S. 12:1-831(A)(2)(e).

        58.     As a direct and proximate result of Howard’s numerous breaches of the duties and

 obligations he owed to Sklarco and SEC by failing to pursue collection on the Sklar Family Debt

 from the Family Trusts, Sklarco and SEC suffered damages in an amount to be determined at trial,

 but at least equivalent to the amount of the Sklar Family Debt on the Petition Date.

                                      Cause of Action No. 2
                        Violations of LSA-R.S. 12:1-640, 1-830, and 1-833
                            (Against Howard F. Sklar, Individually)

        59.     The Trust repeats and realleges the allegations set forth in the above paragraphs.

        60.     In the four years prior to the Petition Date, Howard voted for, directed, and assented

 to the Howard Four-Year Distributions, the Alan Four-Year Distributions, the Jacob Four-Year

 Distributions, and the SMMS Four-Year Distributions (collectively, the “Four-Year

 Distributions”), each of which was more than what was permitted pursuant to LSA-R.S 12:1-

 640(C). As of the date of each of the Four-Year Distributions, Sklarco was not able to pay its

 debts as they became due in the ordinary course of business. Alternatively, as of the date of each

 of the Four-Year Distributions, Sklarco’s total assets were less than the sum of its total liabilities.




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        61.     At the time Howard voted for, directed, or assented to each of the Four-Year

 Distributions, he was aware, or through the exercise of reasonable due diligence should have been

 aware, that Sklarco was unable to make those distributions without significantly impacting both

 Sklarco’s and SEC’s financial health. Indeed, at the time Howard voted for, directed, or assented

 to the Four-Year Distributions, he was aware that SEC had converted the Cash Call Funds for its

 general business obligations, and had redirected the Unpaid Working Interest Revenue into general

 operating accounts, thereby subjecting SEC to significant liability. Howard was also aware at the

 time of the Four-Year Distributions, or should have been aware through the exercise of reasonable

 due diligence, that SEC was slow-paying drilling contractors and other vendors that were critical

 to SEC’s continued ability to operate. As such, in voting for, directing, or assenting to each of the

 Four-Year Distributions, Howard acted in violation of LSA-R.S. 12:1-830 and 12:1-833.

        62.     As a direct and proximate result of the numerous statutory violations as set forth

 above, Sklarco suffered damages in an amount to be determined at trial, but at least equivalent to

 the amount of the Four-Year Distributions.

                                 Cause of Action No. 3
                                  Breach of Contract
              (Against Miriam, SMMS, Howard Trust, Alan Trust, Jacob Trust)

        63.     The Trust repeats and realleges the allegations set forth in the above paragraphs.

        64.     The ASA and the First Amendment to the ASA, copies of which are attached hereto

 as Exhibits A and B respectively, each represent a binding and enforceable contract between

 Sklarco and each of the Family Trusts.

        65.     Pursuant to section 2.1, et seq. of the ASA, the Family Trusts authorized Sklarco to

 incur the Sklar Family JIB Expenses on behalf of the Family Trusts, and Sklarco agreed to pay

 those Sklar Family JIB Expenses to SEC on behalf of the Family Trusts. See ASA, § 2.1.




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        66.     Also pursuant to section 2.1, et seq. of the ASA, the Family Trusts agreed to pay

 the Agency Services Fees to Sklarco, as compensation for Sklarco’s ownership and management

 of the Sklar family oil and gas interests.

        67.     Section 2.1 of the ASA provides that Sklarco would invoice each of the Family

 Trusts on or before the 20th of each month for each Family Trust’s share of the Sklar Family JIB

 Expenses and the Agency Services Fees, and required each Family Trust to pay such charges to

 Sklarco within 15 days of receiving that invoice. See ASA, § 2.1. Sklarco timely invoiced each

 of the Family Trusts as required by Section 2.1 of the ASA. Sklarco used an account called the

 Intercompany Account to record the monthly billings to the Family Trusts.

        68.     Section 2.4 of the ASA required each of the Family Trusts to make monthly

 payments to Sklarco to reduce the “Intercompany Debt”, as that term is defined in section 2.4 of

 the ASA. The Intercompany Debt, as that term is defined by the ASA, was also recorded and

 tracked in the Intercompany Account.

        69.     Section 2.6 of the ASA provides that interest in the amount of the then-applicable

 prime rate plus 1% shall apply to all amounts that are not timely paid by the Family Trusts as

 required by the ASA.

        70.     In breach of sections 2.1, 2.2, 2.3, 2.4, and 2.6 of the ASA, the Family Trusts failed

 to pay all amounts that they were required to pay to Sklarco pursuant to the ASA as reflected on

 the Intercompany Account. The last charge or activity on the Intercompany Account occurred on

 March 31, 2020.

        71.     As a direct and proximate result of the Family Trusts’ numerous and continuing

 breaches of the ASA, Sklarco was damaged in an amount at least equal to the Sklar Family Debt

 as reflected on the Intercompany Account at the Petition Date – approximately $36.4 million, plus




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 interest as permitted by section 2.6 of the ASA. All conditions precedent to Sklarco’s recovery on

 this claim have occurred or have been satisfied.

                                     Cause of Action No. 4
                               Actual Fraudulent Conveyances
                        Pursuant to 11 U.S.C. § 548(a)(1)(A) and § 550(a)
                                    (Against All Defendants)

         72.    The Trust repeats and realleges the allegations set forth in the above paragraphs.

         73.    Each of the distributions set forth on attached Exhibits C, D, E, and F that occurred

 within 2 years of the Petition Date (collectively, the “Two-Year Distributions”) were of an interest of

 the Debtors in property.

         74.    The Two-Year Distributions were made within two years of the Petition Date.

         75.    Pleading further, or in the alternative, if the Court determines as a matter of law that

 Howard did not breach the fiduciary duties and statutory obligations he owed to Sklarco and SEC, the

 Trust asserts that the Two-Year Distributions were made with the intent to hinder, delay, or defraud

 entities to which the Debtors were or became indebted to on or after the date these transfers were

 made.

         76.    Pleading further, or in the alternative, pursuant to 11 U.S.C. § 548(a)(1)(A), the

 Trust thus asks this Court to avoid the Two-Year Distributions.

         77.    Howard and the Howard Trust were the initial transferees of each of the distributions

 reflected on Exhibit C hereto that occurred within two years of the Petition Date (collectively, the

 “Howard Two-Year Distributions”). In the alternative, each of Howard and the Howard Trust were

 the persons or entity for whose benefit each of the Howard Two-Year Distributions were made.

 Accordingly, pursuant to 11 U.S.C. § 550(a)(1), the Trust may recover the value of the Howard

 Two-Year Distributions from Howard and the Howard Trust.




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        78.     The Alan Trust was the initial transferee of each of the distributions reflected on

 Exhibit D hereto that occurred within two years of the Petition Date (collectively, the “Alan Two-

 Year Distributions”). In the alternative, the Alan Trust was entity for whose benefit each of the Alan

 Two-Year Distributions were made. Accordingly, pursuant to 11 U.S.C. § 550(a)(1), the Trust may

 recover the value of the Alan Two-Year Distributions from the Alan Trust.

        79.     The Jacob Trust was the initial transferee of each of the distributions reflected on

 Exhibit E hereto that occurred within two years of the Petition Date (collectively, the “Jacob Two-

 Year Distributions”). In the alternative, the Jacob Trust was the entity for whose benefit each of the

 Jacob Two-Year Distributions were made. Accordingly, pursuant to 11 U.S.C. § 550(a)(1), the

 Trust may recover the value of the Jacob Two-Year Distributions from the Jacob Trust.

        80.     SMMS was the initial transferee of each of the distributions reflected on Exhibit F

 hereto that occurred within two years of the Petition Date (collectively, the “SMMS Two-Year

 Distributions”). In the alternative, SMMS was the entity for whose benefit each of the SMMS

 Two-Year Distributions were made. Accordingly, pursuant to 11 U.S.C. § 550(a)(1), the Trust

 may recover the value of the SMMS Two-Year Distributions from SMMS.

                                      Cause of Action No. 5
                             Constructively Fraudulent Conveyances
                         Pursuant to 11 U.S.C. § 548(a)(1)(B) and § 550(a)
                                     (Against All Defendants)

        81.     The Trust repeats and realleges the allegations set forth in the above paragraphs.

        82.     The Two-Year Distributions were of an interest of the Debtors in property.

        83.     The Two-Year Distributions were made within two years of the Petition Date.

        84.     Sklarco and SEC received less than reasonably equivalent value in exchange for each

 of the Two-Year Distributions because they were made to satisfy obligations that were not owed by

 Sklarco and SEC.



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        85.       Sklarco and SEC were insolvent on the date each of the Two-Year Distributions was

 made or became insolvent because of those distributions.

        86.       As a result of the Two-Year Distributions, Sklarco and SEC were engaged in business

 or a transaction or was about to engage in business or a transaction for which any property remaining

 within Sklarco and SEC was unreasonably small capital.

        87.       As a result of the Two-Year Distributions, Sklarco and SEC intended to incur or

 believed that they would incur debts that would be beyond their ability to pay as such debts matured.

        88.       Pleading further, or in the alternative, if the Court determines as a matter of law that

 Howard did not breach the fiduciary duties and statutory obligations he owed to Sklarco and SEC,

 pursuant to 11 U.S.C. § 548(a)(1)(B), the Trust thus asks this Court to avoid each of the Two-Year

 Distributions.

        89.       Howard and the Howard Trust were the initial transferees of each of the Howard Two-

 Year Distributions. In the alternative, each of Howard and the Howard Trust were the persons or

 entity for whose benefit each of the Howard Two-Year Distributions were made. Accordingly,

 pursuant to 11 U.S.C. § 550(a)(1), the Trust may recover the value of the Howard Two-Year

 Distributions from Howard and the Howard Trust.

        90.       The Alan Trust was the initial transferee of each of the Alan Two-Year Distributions.

 In the alternative, the Alan Trust was entity for whose benefit each of the Alan Two-Year

 Distributions were made. Accordingly, pursuant to 11 U.S.C. § 550(a)(1), the Trust may recover

 the value of the Alan Two-Year Distributions from the Alan Trust.

        91.       The Jacob Trust was the initial transferee of each of the Jacob Two-Year Distributions.

 In the alternative, the Jacob Trust was the entity for whose benefit each of the Jacob Two-Year




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 Distributions were made. Accordingly, pursuant to 11 U.S.C. § 550(a)(1), the Trust may recover

 the value of the Jacob Two-Year Distributions from the Jacob Trust.

         92.      SMMS was the initial transferee of each of the SMMS Two-Year Distributions. In

 the alternative, Miriam was the entity for whose benefit each of the SMMS Two-Year Distributions

 were made. Accordingly, pursuant to 11 U.S.C. § 550(a)(1), the Trust may recover the value of

 the SMMS Two-Year Distributions from SMMS.

                                       Cause of Action No. 6
                                 Actual Fraudulent Conveyances
                  Pursuant to C.R.S.A. § 38-8-105(1)(a), § 38-8-108, and § 38-8-109
                                     (Against All Defendants)

         93.      The Trust repeats and realleges the allegations set forth in the above paragraphs.

         94.      Each of the Four-Year Distributions were of an interest of the Debtors in property.

         95.      The Four-Year Distributions were made within four years of the Petition Date.

         96.      The Four-Year Distributions were made with the intent to hinder, delay, or defraud

 entities to which the Debtors were or became indebted to on or after the date these transfers were

 made.

         97.      Pleading further, or in the alternative, if the Court determines as a matter of law

 that Howard did not breach the fiduciary duties and statutory obligations he owed Sklarco and

 SEC, pursuant to C.R.S.A. § 38-8-105(1)(a) the Trust thus asks this Court to avoid the Four-Year

 Distributions.

         98.      Howard and the Howard Trust were the initial transferees of each of the Howard Four-

 Year Distributions. In the alternative, each of Howard and the Howard Trust were the persons or

 entity for whose benefit each of the Howard Four-Year Distributions were made. Accordingly,

 pursuant to C.R.S.A. § 38-8-108(1)(c) and § 38-8-109(2)(a), the Trust may recover 150% (1.5




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 times) the value of the Howard Four-Year Distributions from Howard and the Howard Trust, plus

 actual costs incurred in pursuit of judgment.

        99.      The Alan Trust was the initial transferee of each of Alan Four-Year Distributions. In

 the alternative, the Alan Trust was entity for whose benefit each of the Alan Four-Year Distributions

 were made. Accordingly, pursuant to C.R.S.A. § 38-8-108(1)(c) and § 38-8-109(2)(a), the Trust

 may recover 150% (1.5 times) the value of the Alan Four-Year Distributions from the Alan Trust,

 plus actual costs incurred in pursuit of judgment.

        100.     The Jacob Trust was the initial transferee of each of the Jacob Two-Year Distributions.

 In the alternative, the Jacob Trust was the entity for whose benefit each of the Jacob Four-Year

 Distributions were made. Accordingly, pursuant to C.R.S.A. § 38-8-108(1)(c) and § 38-8-

 109(2)(a), the Trust may recover 150% (1.5 times) the value of the Jacob Four-Year Distributions

 from the Jacob Trust, plus actual costs incurred in pursuit of judgment.

        101.     SMMS was the initial transferee of each of SMMS Four-Year Distributions. In the

 alternative, SMMS was the entity for whose benefit each of the SMMS Four-Year Distributions

 were made. Accordingly, pursuant to C.R.S.A. § 38-8-108(1)(c) and § 38-8-109(2)(a), the Trust

 may recover 150% (1.5 times) the value of the SMMS Four-Year Distributions from SMMS, plus

 actual costs incurred in pursuit of judgment.

                                      Cause of Action No. 7
                              Constructively Fraudulent Conveyances
              Pursuant to C.R.S.A. § 38-8-105(1)(b), § 38-8-108, and § 38-8-109
                                       (Against All Defendants)

        102.     The Trust repeats and realleges the allegations set forth in the above paragraphs.

        103.     The Four-Year Distributions were of an interest of the Debtors in property.

        104.     The Four-Year Distributions were made within four years of the Petition Date.




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        105.    Sklarco and SEC received less than reasonably equivalent value in exchange for each

 of the Four-Year Distributions because they were made to satisfy obligations that were not owed by

 Sklarco and SEC.

        106.    Sklarco and SEC were insolvent on the date each of the Four-Year Distributions was

 made or became insolvent because of those distributions.

        107.    As a result of the Four-Year Distributions, Sklarco and SEC were engaged in business

 or a transaction, or were about to engage in business or a transaction, for which any property

 remaining within Sklarco and SEC was unreasonably small capital.

        108.    As a result of the Four-Year Distributions, Sklarco and SEC intended to incur or

 believed that they would incur debts that would be beyond their ability to pay as such debts matured.

        109.    Pleading further, or in the alternative, if the Court determines as a matter of law that

 Howard did not breach the fiduciary duties and statutory obligations he owed to Sklarco and SEC,

 pursuant to C.R.S.A. § 38-8-105(1)(b), the Trust thus asks this Court to avoid each of the Four-

 Year Distributions.

        110.    Howard and the Howard Trust were the initial transferees of each of the Howard Four-

 Year Distributions. In the alternative, each of Howard and the Howard Trust were the persons or

 entity for whose benefit each of the Howard Four-Year Distributions were made. Accordingly,

 pursuant to C.R.S.A. § 38-8-109(2)(a), the Trust may recover the value of the Howard Four-Year

 Distributions from Howard and the Howard Trust.

        111.    The Alan Trust was the initial transferee of each of Alan Four-Year Distributions. In

 the alternative, the Alan Trust was entity for whose benefit each of the Alan Four-Year Distributions

 were made. Accordingly, pursuant to C.R.S.A. § 38-8-109(2)(a), the Trust may recover the value

 of the Alan Four-Year Distributions from the Alan Trust.




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        112.    The Jacob Trust was the initial transferee of each of the Jacob Four-Year

 Distributions. In the alternative, the Jacob Trust was the entity for whose benefit each of the Jacob

 Four-Year Distributions were made. Accordingly, pursuant to C.R.S.A. § 38-8-109(2)(a), the Trust

 may recover the value of the Jacob Four-Year Distributions from the Jacob Trust.

        113.    SMMS was the initial transferee of each of SMMS Four-Year Distributions. In the

 alternative, SMMS was the entity for whose benefit each of the SMMS Four-Year Distributions

 were made. Accordingly, pursuant to C.R.S.A. § 38-8-109(2)(a), the Trust may recover the value

 of the SMMS Four-Year Distributions from SMMS.

                                      Cause of Action No. 8
                                      Avoidable Preferences
                             Pursuant to 11 U.S.C. § 547(b) and 550(a)
                                    (Against All Defendants)

        114.    The Trust repeats and realleges the allegations set forth in the above paragraphs.

        115.    Each of the distributions reflected on Exhibits C, D, E, and F that occurred within one

 year of the Petition Date are collectively referred to as the “One-Year Distributions”.

        116.    Pleading further, or in the alternative, if the Court determines as a matter of law that

 Sklarco was liable for payment of the One-Year Distributions, the Trust seeks to recover those

 distributions under 11 U.S.C. § 547(b).

        117.    The One-Year Distributions were made to or for the benefit of Defendants, each of

 whom were creditors of Sklarco.

        118.    The One-Year Distributions were made for or on account of antecedent debts owed

 by the Sklarco to Defendants.

        119.    Sklarco was insolvent at the time the One-Year Distributions were made.

        120.    The One-Year Distributions were each made to an insider of Sklarco, on or within one

 year before the Petition Date.



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        121.    The One-Year Distributions enabled each of the Defendants to receive more than they

 would have been received if (a) the case was a case under Chapter 7 of the Bankruptcy Code; (b) such

 distributions had not been made; and (c) each Defendant had received payment on such debt to the

 extent provided by the provisions of the Bankruptcy Code.

        122.    Howard and the Howard Trust were the initial transferees of each of distributions

 reflected on Exhibit C that occurred within one year of the Petition Date (collectively, the “Howard

 One-Year Distributions”). In the alternative, each of Howard and the Howard Trust were the persons

 or entity for whose benefit each of the Howard One-Year Distributions were made. Accordingly,

 pursuant to 11 U.S.C. § 550(a)(1), the Trust may recover the value of the Howard One-Year

 Distributions from Howard and the Howard Trust.

        123.    The Alan Trust was the initial transferee of each of the distributions reflected on

 Exhibit D that occurred within one year of the Petition Date (collectively, the “Alan One-Year

 Distributions”). In the alternative, the Alan Trust was entity for whose benefit each of the Alan One-

 Year Distributions were made. Accordingly, pursuant to 11 U.S.C. § 550(a)(1), the Trust may

 recover the value of the Alan One-Year Distributions from the Alan Trust.

        124.    The Jacob Trust was the initial transferee of each of the distributions reflected on

 Exhibit E that occurred within one year of the Petition Date (collectively, the “Jacob One-Year

 Distributions”). In the alternative, the Jacob Trust was the entity for whose benefit each of the Jacob

 One-Year Distributions were made. Accordingly, pursuant to 11 U.S.C. § 550(a)(1), the Trust may

 recover the value of the Jacob One-Year Distributions from the Jacob Trust.

        125.    SMMS was the initial transferee of each of the distributions reflected on Exhibit F

 that occurred within one year of the Petition Date (collectively, the “SMMS One-Year

 Distributions”). In the alternative, SMMS was the entity for whose benefit each of the SMMS




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 One-Year Distributions were made. Accordingly, pursuant to 11 U.S.C. § 550(a)(1), the Trust

 may recover the value of the SMMS One-Year Distributions from SMMS.

                                     Cause of Action No. 9
                               Avoidance of Property Right Claims
                                 Pursuant to 11 U.S.C. § 544(a)
                                    (Against All Defendants)

         126.   The Trust repeats and realleges the allegations set forth in the above paragraphs.

         127.   On the Petition Date, each of the Sklar Family Working Interests were titled and

 recorded solely in the name of Sklarco, and not in the name of any of the Defendants.

         128.   Defendants each assert, individually and collectively, an equitable ownership

 interest in the Sklar Family Working Interests.

         129.   None of the equitable ownership interests that Defendants assert in the Sklar Family

 Working Interests was publicly recorded and/or perfected under applicable state law so as to be

 enforceable against a judicial lien creditor of Sklarco on the Petition Date.

         130.   None of the equitable ownership interests that Defendants assert in the Sklar Family

 Working Interests was publicly recorded and/or perfected under applicable state law so as to be

 enforceable against a creditor who executes or levies on Sklarco’s property on the Petition Date.

         131.   None of the equitable ownership interests that Defendants assert in the Sklar Family

 Working Interests was publicly recorded and/or perfected under applicable state law so as to be

 enforceable against a bona fide purchaser of real property from Sklarco on the Petition Date.

         132.   Pursuant to 11 U.S.C. §§ 544(a)(1), 544(a)(2), and 544(a)(3), the Trust asks the

 Court to avoid Defendants’ asserted equitable ownership interests in the Sklar Family Working

 Interests.

         133.   Howard and the Howard Trust each assert an equitable ownership interest in the Sklar

 Family Working Interests. In the alternative, Howard and the Howard Trust are each entities for



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 whose benefit the equitable ownership interests in the Sklar Family Working Interests are asserted.

 Accordingly, pursuant to 11 U.S.C. § 550(a)(1), the Trust may recover the Sklar Family Working

 Interests, and/or the value of the Sklar Family Working Interests, from Howard and the Howard

 Trust.

          134.   The Alan Trust asserts an equitable ownership interest in the Sklar Family Working

 Interests. In the alternative, the Alan Trust is an entity for whose benefit the equitable ownership

 interests in the Sklar Family Working Interests are asserted. Accordingly, pursuant to 11 U.S.C. §

 550(a)(1), the Trust may recover the Sklar Family Working Interests, and/or the value of the Sklar

 Family Working Interests, from the Alan Trust.

          135.   The Jacob Trust asserts an equitable ownership interest in the Sklar Family Working

 Interests. In the alternative, the Jacob Trust is an entity for whose benefit the equitable ownership

 interests in the Sklar Family Working Interests are asserted. Accordingly, pursuant to 11 U.S.C. §

 550(a)(1), the Trust may recover the Sklar Family Working Interests, and/or the value of the Sklar

 Family Working Interests, from the Jacob Trust.

          136.   SMMS asserts an equitable ownership interest in the Sklar Family Working Interests.

 In the alternative, SMMS is an entity for whose benefit the equitable ownership interests in the Sklar

 Family Working Interests are asserted. Accordingly, pursuant to 11 U.S.C. § 550(a)(1), the Trust

 may recover the Sklar Family Working Interests, and/or the value of the Sklar Family Working

 Interests, from SMMS.

                                    Cause of Action No. 10
                     Equitable Subordination Pursuant to 11 U.S.C. § 510(c)
                      (Against Howard Trust, Alan Trust, and Jacob Trust)

          137.   The Trustee repeats and realleges the allegations set forth in the above paragraphs.




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        138.    After the Petition Date, Howard filed proofs of claim on behalf of the Howard

 Trust, the Alan Trust, and the Jacob Trust, seeking to extract yet more cash from Sklarco and SEC.

 Specifically, Howard caused the Howard Trust, the Alan Trust, and the Jacob Trust to file the

 following proofs of claim in these jointly administered chapter 11 cases (collectively, the “Sklar

 Proofs of Claim”):

                                                                        Claim
                       Claimant         Debtor           Amount        Number
                   Alan Trust         Sklarco         $157,700.00      10146
                   Jacob Trust        Sklarco         $94,800.00       10147
                   Howard Trust       Sklarco         Undetermined     10148
                   Alan Trust         Sklarco         Undetermined     10149
                   Jacob Trust        Sklarco         Undetermined     10150

        139.    As discussed above, Howard repeatedly used his positions as CEO and Manager of

 Sklarco and SEC to benefit his and his family’s personal financial interests, to the detriment of

 Sklarco and the creditors of Sklarco. Howard’s actions in that regard were inequitable in that they

 represent multiple breaches of the fiduciary duties he owed both Sklarco and SEC, and they

 directly injured both Sklarco’s and SEC’s creditors.

        140.    As a result of the foregoing, the Trust asks the Court to equitably subordinate each

 of the Sklar Proofs of Claim, such that none of the Sklar Proofs of Claim shall be entitled to any

 payment unless and until all other general unsecured claims of Sklarco and SEC are paid in full.

 Under these circumstances, equitable subordination of the Sklar Proofs of Claim is consistent with

 11 U.S.C. § 510(c) and generally accepted principles of equitable subordination as applied to

 corporate insiders such as Howard.

                             Objections to the Sklar Proofs of Claim

        141.    The Trust repeats and realleges the allegations set forth in the above paragraphs.

        142.    For the reasons discussed above, the Trust objects to each of the Sklar Proofs of

 Claim. Specifically, each of the Sklar Proofs of Claim should be disallowed in their entirety


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 pursuant to general bankruptcy principles of equity, prior orders of the Court, and the doctrine of

 unclean hands. It would be the height of injustice to allow the Howard Trust, the Alan Trust, and

 the Jacob Trust to extract more money from Sklarco under these circumstances.

                                       Conditions Precedent

        143.    All conditions precedent to the Trust’s claims for relief as set forth herein have been

 performed or have occurred.

                                             Conclusion

        Wherefore, based upon the above allegations, the Trustee respectfully requests that the

 Court enter judgment in favor of the Trust and against each of the Defendants as follows:

                a.     As to Cause of Action No. 1, awarding damages against
                       Howard F. Sklar, Individually, in amount of not less than the
                       Sklar Family Debt on the Petition Date, plus all other actual
                       and consequential damages flowing therefrom;

                b.     As to Cause of Action No. 2, awarding damages against
                       Howard F. Sklar, Individually, in an amount not less than the
                       Four-Year Distributions, plus all other actual and
                       consequential damages flowing therefrom;

                c.     As to Cause of Action No. 3, awarding damages against each
                       of the Family Trusts, jointly and severally, in an amount no
                       less than the Sklar Family Debt plus interest calculated
                       pursuant to Section 2.6 of the ASA, plus all other actual and
                       consequential damages flowing therefrom;

                d.     In the alternative, as to Cause of Action Nos. 4 and 5,
                       avoiding each of the Two-Year Distributions and directing
                       Defendants to repay the value of the Two-Year
                       Distributions;

                e.     In the alternative, as to Cause of Action No. 6, avoiding each
                       of the Four-Year Distributions and directing Defendants to
                       repay 150% (1.5 times) the value of the Four-Year
                       Distributions they each received plus the Trust’s actual costs
                       in pursuit of judgment;




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               f.     In the alternative, as to Cause of Action No. 7, avoiding each
                      of the Four-Year Distributions and directing Defendants to
                      repay the value of the Four-Year Distributions ;

               g.     In the alternative, as to Cause of Action No. 8, avoiding each
                      of the One-Year Distributions and directing Defendants to
                      repay the value of the One-Year Distributions;

               h.     As to Cause of Action No. 9, avoiding Defendants’
                      assertions of equitable ownership in any of the Sklar Family
                      Working Interests, and directing Defendants to return the
                      Sklar Family Working Interests, and/or the value of the Sklar
                      Family Working Interests, to the Trust;

               f.     As to Cause of Action No. 10, equitably subordinating each
                      of the Sklar Proofs of Claim to repayment in full of all other
                      general unsecured claims of Sklarco and SEC or, in the
                      alternative, sustaining the Trust’s objections to each of the
                      Sklar Proofs of Claim such that they are each disallowed in
                      their entirely;

               g.     Directing Defendants, jointly and severally, to pay pre- and
                      post-judgment interest on all amounts awarded as damages
                      as allowed by law;

               h.     Directing Defendants, jointly and severally, to pay all costs
                      of court and attorneys’ fees that the Trust has incurred in
                      pursuit of these actions to the fullest extent permitted by
                      applicable law; and

               i.     Awarding the Trust such other and further relief that this
                      Court deems just and proper.

 Dated this 31st day of March 2022.

                                                    DIAMOND MCCARTHY LLP


                                                    By: /s/ Stephen T. Loden
                                                        Stephen T. Loden, Reg. No. 45592
                                                        Christopher D. Johnson, pro hac vice
                                                        909 Fannin Street, Suite 3700
                                                        Houston, Texas 77010
                                                        Tel. (713) 333-5100
                                                        Fax: (713) 333-5155

                                                    Attorneys for Thomas M. Kim,
                                                    Trustee of the Sklarco Creditor Trust


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                                 EXHIBIT C
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                                   SKLARCO LLC
                                   Distribution Summary

                       HOWARD TRUST or HOWARD SKLAR

                                         Payment
                                       Reference
                         Date           Number            Amount
                        05/23/16            00001139         50,000.00
                        06/21/16            00001145        150,000.00
                        06/30/16            00001147        800,000.00
                        07/14/16            00001151        150,000.00
                        08/09/16            00001154         10,000.00
                        08/24/16            00001159         20,000.00
                        08/31/16            00001160        350,000.00
                        10/04/16            00001169        178,000.00
                        10/18/16            00001173         50,000.00
                        10/18/16            00001174         25,000.00
                        11/01/16            00001176         40,000.00
                        11/29/16            00001183         40,000.00
                        11/29/16            00001184         10,000.00
                        11/30/16            00001185         50,000.00
                        12/02/16            00001187         50,000.00
                        12/20/16            00001190        115,871.99
                        12/20/16            00001197        115,871.99
                        12/28/16            00001194         36,000.00
                        01/03/17            00001195         30,000.00
                        01/18/17            00001198         50,000.00
                        01/20/17            00001200        160,000.00
                        01/25/17            00001202         30,000.00
                        02/08/17            00001206         95,000.00
                        02/14/17            00001208         55,000.00
                        02/24/17            00001212         65,000.00
                        03/02/17               27088         53,000.00
                        03/09/17            00001213         75,000.00
                        03/14/17            00001214         30,000.00
                        03/27/17            00001218         95,000.00
                        03/30/17            00001219         28,000.00
                        04/18/17            00001224        325,000.00
                        04/20/17            00001226         20,000.00
                        04/25/17            00001229         40,000.00
                        04/28/17            00001230        125,000.00
                        05/02/17            00001233        175,000.00
                        05/23/17            00001234         25,000.00
                        06/05/17            00001236        175,000.00
                        06/27/17            00001238         10,000.00
                        07/03/17            00001239        112,500.00
                        07/13/17            00001240         60,000.00
                        07/17/17            00001241         45,000.00
                        08/01/17            00001244        175,000.00
                        08/31/17            00001249        115,000.00
                        09/13/17               28003         20,000.00
                        10/05/17            00001261         50,000.00
                        10/24/17            00001263         20,000.00
                        11/01/17            00001267         50,000.00
                        11/20/17            00001272         75,000.00
                        11/30/17            00001277         10,000.00
                        12/13/17            00001280         43,000.00
                        12/19/17            00001284         65,000.00
                        12/19/17            00001283         20,000.00
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                                   SKLARCO LLC
                                   Distribution Summary

                       HOWARD TRUST or HOWARD SKLAR

                                         Payment
                                       Reference
                         Date           Number             Amount
                        01/09/18            00001286           60,000.00
                        01/24/18            00001289          179,000.00
                        01/26/18            00001292          100,000.00
                        02/07/18            00001294           80,000.00
                        02/09/18            00001295          100,000.00
                        02/26/18            00001300           20,000.00
                        03/14/18            00001303           45,000.00
                        03/20/18            00001304           45,000.00
                        04/26/18            00001316          135,000.00
                        05/07/18            00001320           40,000.00
                        05/22/18            00001325           50,000.00
                        06/07/18            00001328           15,000.00
                        06/15/18            00001330           75,000.00
                        06/22/18            00001333              500.00
                        07/05/18            00000007           90,000.00
                        08/01/18            00000015           90,000.00
                        08/27/18            00000019           90,000.00
                        10/01/18            00000032           90,000.00
                        11/01/18            00000041           90,000.00
                        11/29/18            00000046           10,000.00
                        12/06/18            00000047           10,000.00
                        12/13/18            00000050           90,000.00
                        12/21/18            00000053           43,288.87
                        02/01/19            00000058          130,000.00
                        03/01/19            00000065          130,000.00
                        04/01/19            00000071          130,000.00
                        04/26/19            00000074           40,000.00
                        05/01/19            00000075          225,000.00
                        05/24/19            00000078          130,000.00
                        06/20/19            00000079          130,000.00
                        07/03/19            00000086           30,000.00
                        07/05/19            00000089           30,000.00
                        07/08/19            00000082           50,000.00
                        07/24/19            00000087          130,000.00
                        07/24/19            00000088           67,654.00
                        08/22/19            00000092          130,000.00
                        08/22/19                2426           70,000.00
                        08/29/19            00000094           10,000.00
                        09/03/19            00000095          200,000.00
                        09/10/19            00000096           30,000.00
                        10/02/19            00000099          190,000.00
                        10/29/19            00000102           11,200.00
                        11/01/19            00000103          100,000.00
                        11/27/19            00000107           20,000.00
                        12/04/19            00000109          180,000.00
                        12/31/19            00000112           25,000.00
                        01/03/20            00000113          125,000.00
                                              Total:   $    8,623,886.85
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                                 EXHIBIT D
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                           SKLARCO LLC
                           Distribution Summary

                             ALAN TRUST

                                 Payment

                               Reference
                  Date          Number              Amount
                12/21/16             00001191           10,000.00
                02/21/17             00001210           50,000.00
                04/21/17             00001227           52,952.00
                04/28/17             00001231           29,687.02
                10/24/17             00001265           29,687.03
                10/24/17             00001264           10,490.99
                06/19/18             00000002           22,499.90
                06/22/18             00001332              500.00
                07/06/18             00000008           17,223.75
                07/17/18             00000010          128,644.00
                08/28/18             00000021           63,158.36
                09/20/18             00000024           23,483.15
                10/02/18             00000033           15,845.74
                12/21/18             00000051           80,781.68
                02/27/19             00000062           66,000.00
                04/25/19             00000073           66,741.97
                05/22/19             00000076           37,546.69
                07/11/19             00000084           38,310.19
                08/20/19             00000090           50,375.09
                08/22/19                 2432           24,311.19
                10/21/19             00000100            1,620.75
                11/13/19             00000105           26,967.00
                01/23/20             00000117           21,249.50
                                      Total:    $      868,076.00
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                                 EXHIBIT E
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                                SKLARCO LLC
                                Distribution Summary

                                   SAM TRUST

                                      Payment
                                   Reference
                      Date          Number             Amount
                     12/21/16           00001192         10,000.00
                     01/03/17           00001196         25,000.00
                     02/21/17           00001209         50,000.00
                     04/21/17           00001228         43,364.00
                     04/28/17           00001232         29,687.03
                     08/15/17           00001248         22,093.32
                     10/24/17           00001266         29,687.02
                     06/19/18           00000001          5,187.27
                     06/22/18           00001331            500.00
                     07/17/18           00000009        128,644.00
                     08/28/18           00000020         57,023.40
                     09/20/18           00000025         16,483.40
                     10/02/18           00000034          8,102.08
                     12/21/18           00000052         70,144.39
                     02/27/19           00000063         49,485.00
                     04/25/19           00000072         48,585.14
                     05/22/19           00000077         32,966.51
                     07/11/19           00000083         28,466.38
                     08/20/19           00000091         46,181.84
                     08/22/19           00000093         24,311.18
                     10/21/19           00000101          1,620.74
                     11/13/19           00000106         26,967.00
                     11/27/19           00000108          8,240.00
                     12/30/19           00000111          4,400.00
                     01/23/20           00000118         21,249.50
                     02/27/20           00000121         10,000.00
                     03/04/20           00000122          8,000.00
                                          Total:   $    806,389.20
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                                SKLARCO LLC
                                Distribution Summary

                                  SMMS TRUST

                                      Payment
                                   Reference
                      Date          Number             Amount
                     01/09/19           00000060          5,000.00
                     12/12/19           00000110          8,680.00
                     01/13/20           00000115          8,000.00
                     04/01/20           00000127         18,000.00
                                          Total:   $     39,680.00
